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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                      :

        -v.-                                                  :    S6 22 Cr. 673 (LAK)

SAMUEL BANKMAN-FRIED,                                         :

                                Defendant.                    :

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                                                     Exhibit E

                         Twitter Posts from Samuel Bankman-Fried’s Twitter Account
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